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    Cover Letter (with Motion for Leave to Amend)                                    CleP'tl\1if&i
                                                                                     Bv .          Court
                                                                                                   Deputy Cleric



    Timothy Joseph Smithe and Mary Astor Smithe               )   Case No.:25-CV-1072
    % 203 S Clarence Street, Wichita, Kansas 67213,

    May 19, A.O. 2025



    Clerk of the Com·t

    District Court of Sedgwick County, Kansas

    Eighteenth Judicial District

    401 N Market St

    Wichita, KS 67202



    Motion for Leave to Amend and Response to Show Cause

    Dear Clerk,

    As co-heirs with Christ (Romans 8: 17), we, Timothy Joseph Smithe and Mary Astor Smithe,

    submit this Amended Complaint, Response to Show Cause, and Motion for Leave to Amend,

    removing the Timothy Joseph Smithe and Ma1y Astor Smithe Foreign Grantors Trusts to

    proceed prose under K.S.A. 60-211, and adding the Bureau oflndian Affairs (BIA) and Bureau

    of the Fiscal Service (BFS) as new defendants, totaling 32, due to their non-responsiveness to

    our requests (Proverbs 21: 15). The original complaint was served on 30 defendants, including

    the U.S. Attorney's Office and U.S. Attorney General, starting with H&R Block on April 26,

    2025, and proof was filed; BIA and BFS, as new defendants, will receive the original and

    amended complaints upon filing .
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        **MOTION FOR LEAVE TO AMEND**

        Pursuant to K.S.A. 60-215(a)(2), we respectfully request leave to amend the original complaint,

        as the 21-day as-of-right amendment period expired on May 17, A.D . 2025, same day we

        received the Judge's order in the mail. This amendment complies with the Court's May 7, A.D.

        2025, show cause order by removing the trusts, which we etrnneously included, unaware they

        required licensed counsel. The Amended Complaint proceeds with us as individuals, adds BIA

        and BFS due to their failure to disclose account records, and maintains our claims of fraud,

        identity theft, and labor theft valued at $2 billion in unlimited credit, caused by Defendants'

        misuse of our Social Security Numbers and withholding of funds, violating God's command

        against stealing (Exodus 20: 15). Granting leave serves justice, corrects our error, and allows our

        pro se pursuit of divine rights (Romans 5: 1), as financial constraints prevent retaining counsel.

        We trust the Court's wisdom to permit this amendment (James 1:5).

        We request issuance of summonses for BIA and BFS . We will serve all 32 defendants, and the

        U.S. Attorney's Office (301 N Main St, Wichita, KS 67202) and U.S. Attorney General (950

        Pennsylvania Ave NW, Washington, DC 20530) as federal representatives, with this complaint

        via first-class mail on May 20, A.D.2025. We humbly request acceptance of this motion, the

        Response to Show Cause, and evaluation of our Temporary Restraining Order motion as

        individual plaintiffs, that we may rest in God's peace (Isaiah 9:6).

        In Christ's Authority, Respectfully Submitte~                                J   yYJ        ~
        Timothy Joseph Smithe and Maiy Astor Smithe, co heirs with Christ and benefic~              ro Se.
